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               9        Telephone: (713) 427-5000
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             10
                        Attorneys for Plaintiff
             11         Minka Lighting, Inc.
             12                               UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
             13                                    WESTERN DIVISION
             14        MINKA LIGHTING, INC.,                      C.A. No. 5:13-cv-02370-RGK-MRW
                       Plaintiff,
             15
                       v.                                PLAINTIFF’S MOTION IN LIMINE
             16                                          NO. 4 FOR AN ORDER EXCLUDING
                       BATH KITCHEN DÉCOR, LLC d/b/a     TESTIMONY AND EVIDENCE
             17        EAGLES LIGHTING LLC, LARRY        REGARDING DEFENDANT
                       KRAZYMAN, Individually, and DAVID KRAYZMAN'S OR TROPPER'S
             18        TROPPER, Individually,            RELIGIOUS AFFILIATION OR
                       Defendants.                       CIRCUMSTANCES OF THEIR
             19                                          ORIGINAL RELATIONSHIP;
                                                         MEMORANDUM OF POINTS AND
             20                                          AUTHORITIES IN SUPPORT
                                                         THEREOF
             21
                                                                  Pretrial Conference: February 23, 2015
             22                                                   Jury Trial Date: March 3, 2015
             23                                                   Hon. R. Gary Klausner
             24                                                   [filed concurrently with [Proposed]
                                                                  Order]
             25
                       TO DEFENDANTS AND THEIR ATTORNEY OF RECORD:
             26
                             PLEASE TAKE NOTICE that on March 3, 2015 at 9:00 a.m., before the
             27
                       Honorable R. Gary Klausner in Courtroom 850 of the above-entitled Court located at
             28
Baker & McKenzie LLP                                          1
 Houston, TX 77002
                                                                                    Case No 5:13-cv-02370-RGK-MRW
                                                                               PLAINTIFF’S MOTION IN LIMINE NO. 4
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               1
                       255 East Temple Street, Los Angeles, California 90012, Plaintiff Minka Lighting, Inc.
               2
                       (“Plaintiff” or “Minka) will and does hereby move this Court, for an order excluding
               3
                       any and all references to, argument of, or testimony and evidence regarding
               4
                       Defendants Krayzman's or Tropper's religious affiliation or circumstances of their
               5
                       original relationship. Such evidence is inadmissible under Fed. R. Evid. 403, and
               6
                       would prejudice Minka's presentation of the liability facts and request for damages, as
               7
                       well as confuse the trier of fact as to the relevance of such testimony and evidence.
               8
                             This Motion is based on this Notice, the attached Memorandum of Points and
               9
                       Authorities, and all other evidence and argument that the Court may consider in
             10
                       connection with this Motion.
             11
                             Pursuant to Local Rule 7-3, this Motion is made following a telephonic meeting
             12
                       between counsel on January 16, 2015 regarding this motion in limine. Counsel were
             13
                       unable to resolve this evidentiary issue.
             14
             15        Dated: January 16, 2015                     BAKER & McKENZIE LLP

             16                                                    By: /s/ Myall S. Hawkins
             17                                                       Myall S. Hawkins
                                                                      Attorneys for Plaintiff
             18                                                       Minka Lighting, Inc.

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Baker & McKenzie LLP                                               2
       Houston
                                                                                         Case No 5:13-cv-02370-RGK-MRW
                                                                                    PLAINTIFF’S MOTION IN LIMINE NO. 4
                                                                                                                         \
           Case 5:13-cv-02370-RGK-MRW Document 59 Filed 01/16/15 Page 3 of 4 Page ID #:1496


               1                     MEMORANDUM OF POINTS AND AUTHORITIES
               2       I.    LEGAL ARGUMENT AND AUTHORITIES
               3             Under Federal Rule of Civil Evidence 403, the "court may exclude evidence if
               4       its probative value is substantially outweighed by a danger of one or more of the
               5       following: unfair prejudice, confusing the issues, misleading the jury, undue delay,
               6       wasting time, or needlessly presenting cumulative evidence."
               7             During the course of this case, through their pleadings and written and oral
               8       communications, Defendants have interjected their religious affiliation, strict
               9       observance to the tenets of their religion, and the circumstances of how Defendant
             10        Tropper met Defendant Krayzman as his religious teacher.
             11              Plaintiff seeks to exclude in limine any of the above arguments as Defendants
             12        Krayzman's and Tropper's religious affiliation has no relevance to any triable issue in
             13        this case, and its introduction would be for the sole purpose of garnering an affiliation
             14        with a juror of the same faith or religion, or to evoke sympathy.
             15        II.   CONCLUSION
             16              For the reasons set forth above, Minka respectfully requests that the Court
             17        exclude any and all reference to, argument of, testimony and evidence regarding
             18        Defendant Krayzman's or Tropper's religious affiliation, strict observance to the tenets
             19        of their religion or faith, and the circumstances of how Defendant Tropper met
             20        Defendant Krayzman as his religious teacher.
             21                                                  BAKER & McKENZIE LLP
                       Dated: January 16, 2015
             22
             23                                                  By: /s/ Myall S. Hawkins
                                                                    Myall S. Hawkins
             24                                                     Attorneys for Plaintiff
                                                                    Minka Lighting, Inc.
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Baker & McKenzie LLP                                             3
 Houston, TX 77002
                                                                                        Case No 5:13-cv-02370-RGK-MRW
                                                                                   PLAINTIFF’S MOTION IN LIMINE NO. 4
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               1
               2       U.S. DISTRICT COURT; CENTRAL DISTRICT OF CALIFORNIA
               3       C.A. NO. 5:13-CV-02370-RGK-MRW

               4                                  CERTIFICATE OF SERVICE

               5             I am a citizen of the United States and employed in Harris County, Texas. I am

               6       over the age of eighteen years and not a party to the within-entitled action. I am

               7       employed in the office of a member of the bar of this Court at whose direction the

               8       service was made. My business address is 700 Louisiana, Suite 3000, Houston, Texas

               9       77002.

             10              On January 16, 2015, a copy of the following document:

             11         PLAINTIFF’S MOTION IN LIMINE NO. 4 FOR AN ORDER EXCLUDING
                        TESTIMONY AND EVIDENCE REGARDING DEFENDANT KRAYZMAN
             12         OR TROPPER'S RELIGIOUS AFFILIATION OR CIRCUMSTANCES OF
                        THEIR ORIGINAL RELATIONSHIP; MEMORANDUM OF POINTS AND
             13                      AUTHORITIES IN SUPPORT THEREOF

             14        were served on the Defendants' attorneys of record in this action by electronic filing as

             15        follows:

             16              YITZCHAK ZELMAN (Admitted Pro Hac Vice)
                             New York Bar No. (YZ5857)
             17              Law Office of Alan J. Sasson, P.C.
                             yzelman@sassonlaw.com
             18              1669 East 12th Street, 2nd Floor
                             Brooklyn, New York 11229
             19
                             GARY BARSEGIAN (Local counsel)
             20              California Bar No. (213861)
                             gbarsegian@garyesq.com
             21              Law Offices of Gary Barsegian
                             2001 West Magnolia Boulevard, Suite A
             22              Burbank, CA 91506

             23              I declare under penalty of perjury that the above is true and correct and that this

             24        Declaration is executed on January 16, 2015 in Houston, Texas.

             25
             26                                               /s/ Myall S. Hawkins
                                                              Myall S. Hawkins
             27
             28
                                                                 4
Baker & McKenzie LLP
                                                                                        Case No 5:13-cv-02370-RGK-MRW
 Houston, TX 77002                                                                 PLAINTIFF’S MOTION IN LIMINE NO. 4
